Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 1 of 17 PageID #: 569




  UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                       §
                                                 §
  versus                                         §    CASE NO. 4:18-CR-184
                                                 §
  JOHN RUSSELL SCRIVNER                          §

                                 MEMORANDUM AND ORDER

           Pending before the court is Defendant John Russell Scrivner’s (“Scrivner”) Motion for

  Compassionate Release (#66), wherein he requests that the court appoint counsel and release him

  from imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A) due to the threat of the Coronavirus

  Disease 2019 (“COVID-19”). The Government opposes the motion, and after conducting an

  investigation, United States Probation and Pretrial Services (“Probation”) recommends denying

  the motion.      Having considered the motion, the Government’s response, Probation’s

  recommendation, the record, and the applicable law, the court is of the opinion that the motion

  should be denied.

  I.       Background

           On November 15, 2018, a federal grand jury in the Eastern District of Texas returned a

  First Superseding Indictment (“Indictment”) charging Scrivner in Counts 1 through 10 with Wire

  Fraud, in violation of 18 U.S.C. § 1343. On February 8, 2019, Scrivner pleaded guilty to Count

  4 of the Indictment pursuant to a non-binding plea agreement. On August 1, 2019, the court

  sentenced Scrivner to 41 months’ imprisonment, followed by a 3-year term of supervised release.

  The court also imposed criminal monetary penalties, including restitution in the amount of

  $341,981.06. Scrivner is currently housed at the Federal Correctional Institution Englewood,

  located in Littleton, Colorado (“FCI Englewood”). His projected release date is June 30, 2022.
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 2 of 17 PageID #: 570




  II.    Appointment of Counsel

         Scrivner requests the appointment of counsel to assist him in presenting his motion for

  compassionate release under 18 U.S.C. § 3582(c). There is no constitutional right to appointed

  counsel in post-conviction proceedings. Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“The

  right to appointed counsel extends to the first appeal of right, and no further.”); see Garza v.

  Idaho, ___ U.S. ___, 139 S. Ct. 738, 749 (2019); McCleskey v. Zant, 499 U.S. 467, 494-95

  (1991); Whitaker v. Collier, 862 F.3d 490, 501 (5th Cir. 2017), cert. denied, 138 S. Ct. 1172

  (2018); In re Sepulvado, 707 F.3d 550, 554 (5th Cir.), cert. denied, 571 U.S. 952 (2013).

         The court, however, may, in the interest of justice, appoint counsel to assist a defendant

  in the pursuit of post-conviction relief where a defendant has raised nonfrivolous claims with

  factually and/or legally complex issues. See United States v. Whitebird, 55 F.3d 1007, 1011 (5th

  Cir. 1995) (“After [a defendant’s first appeal], the decision whether to appoint counsel rests in the

  discretion of the district court.”).

         The exercise of discretion in this area is guided . . . by certain basic principles.
         When applying this standard and exercising its discretion in this field, the court
         should determine both whether the petition presents significant legal issues, and if
         the appointment of counsel will benefit the petitioner and the court in addressing
         this claim.

  United States v. Molina-Flores, No. 3:16-CR-130-N (19), 2018 WL 10050316, at *2 (N.D. Tex.

  Feb. 13, 2018) (quoting Jackson v. Coleman, No. 3:11-cv-1837, 2012 WL 4504485, at *4 (M.D.

  Pa. Oct. 2, 2012)); see Scoggins v. MacEachern, No. 04-10814-PBS, 2010 WL 3169416, at *1

  (D. Mass. Aug. 10, 2010) (“In order to obtain appointed counsel, ‘an indigent litigant must

  demonstrate exceptional circumstances in his or her case to justify the appointment of counsel.’

  The rare cases warranting appointment of counsel in the interests of justice typically involve


                                                   2
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 3 of 17 PageID #: 571




  nonfrivolous claims with factually and/or legally complex issues and a petitioner who is severely

  hampered in his ability to investigate the facts.” (quoting Cookish v. Cunningham, 787 F.2d 1,

  2 (1st Cir. 1986))).

         Scrivner is not entitled to the appointment of counsel to assist him with seeking

  compassionate release under 18 U.S.C. § 3582. See Finley, 481 U.S. at 555; United States v.

  Whitebird, 55 F.3d 1007, 1010-11 (5th Cir. 1995) (declining to recognize constitutional or

  statutory right to assistance of counsel in bringing § 3582(c)(2) motion for sentence reduction);

  United States v. Vasquez, No. CR 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2,

  2020) (“There is no right to counsel in § 3582 or other post-appellate criminal proceedings.”).

  Moreover, Scrivner provides no basis for the court to conclude that the appointment of counsel

  would help him obtain relief. A motion “for compassionate release is not particularly complex

  factually or legally.” United States v. Drayton, No. 10-200018, 2020 WL 2572402, at *1 (D.

  Kan. May 21, 2020); see United States v. Wilfred, No. 07-351, 2020 WL 4698993, at *1 (E.D.

  La. Aug. 13, 2020). Scrivner is a United States citizen, who grew up in Columbine, Colorado,

  graduated from high school, and attended some college. The motion he has presented is typed,

  organized, and literate, with proper spelling, grammar, and punctuation. Furthermore, Scrivner

  had two retained counsel throughout his criminal proceedings and has made no effort to

  demonstrate a change in circumstances or show that he is indigent in order to be eligible for

  appointed counsel. In any event, Scrivner does not raise any viable claims or any factually or

  legally complex issues that could arguably justify the appointment of post-conviction counsel.

  Thus, the court finds that the discretionary appointment of counsel is not warranted. See 18




                                                 3
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 4 of 17 PageID #: 572




  U.S.C. § 3006A(a)(2) (allowing appointment of counsel under certain circumstances when “the

  court determines that the interests of justice so require”).

  III.   Compassionate Release

         On December 21, 2018, the President signed the First Step Act of 2018 into law. See First

  Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194. The Act, in part, amended 18 U.S.C.

  § 3582(c), which gives the court discretion, in certain circumstances, to reduce a defendant’s term

  of imprisonment:

         The court, upon motion of the Director of the Bureau of Prisons (“BOP”), or upon
         motion of the defendant after the defendant has fully exhausted all administrative
         rights to appeal a failure of the [BOP] to bring a motion on the defendant’s behalf
         or the lapse of 30 days from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the term of imprisonment
         (and may impose a term of probation or supervised release with or without
         conditions that does not exceed the unserved portion of the original term of
         imprisonment), after considering the factors set forth in section 3553(a) to the
         extent that they are applicable, if it finds that extraordinary and compelling reasons
         warrant such a reduction; or the defendant is at least 70 years of age, has served
         at least 30 years in prison, pursuant to a sentence imposed under section 3559(c),
         for the offense or offenses for which the defendant is currently imprisoned, and a
         determination has been made by the Director of the [BOP] that the defendant is not
         a danger to the safety of any other person or the community, as provided under
         section 3142(g); and that such a reduction is consistent with applicable policy
         statements issued by the Sentencing Commission . . . .

  18 U.S.C. § 3582(c)(1)(A). This provision is commonly referred to as “compassionate release.”

         Prior to the First Step Act, only the Director of the BOP could file a motion seeking

  compassionate release. See United States v. Franco, No. 20-60473, 2020 WL 5249369, at *1 (5th

  Cir. Sept. 3, 2020) (“Prior to the passage of the First Step Act . . . courts lacked the power to

  adjudicate motions for compassionate release.”); Tuozzo v. Shartle, No. 13-4897, 2014 WL

  806450, at *2 (D.N.J. Feb. 27, 2014) (denying petitioner’s motion for compassionate release

  because no motion for his release was filed by the BOP). The First Step Act amended § 3582(c)

                                                   4
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 5 of 17 PageID #: 573




  by providing a defendant the means to appeal the BOP’s decision not to file a motion for

  compassionate release on the defendant’s behalf. United States v. Cantu, 423 F. Supp. 3d 345,

  347 (S.D. Tex. 2019); United States v. Bell, No. 3:93-CR-302-M, 2019 WL 1531859, at *1

  (N.D. Tex. Apr. 9, 2019). The plain language of the statute, however, makes it clear that the

  court may not grant a defendant’s motion for compassionate release unless the defendant has

  complied with the administrative exhaustion requirement. 18 U.S.C. § 3582(c)(1)(A); Franco,

  2020 WL 5249369, at *1 (holding that the statutory requirement that a defendant file a request

  with the BOP before filing a motion for compassionate release in federal court “is not

  jurisdictional but that it is mandatory”); United States v. Alam, 960 F.3d 831, 833 (6th Cir. 2020)

  (“Even though [the] exhaustion requirement does not implicate [the court’s] subject-matter

  jurisdiction, it remains a mandatory condition.”); United States v. Raia, 954 F.3d 594, 597 (3d

  Cir. 2020) (“[T]he exhaustion requirement . . . presents a glaring roadblock foreclosing

  compassionate release.”). Thus, before seeking relief from the court, a defendant must first

  submit a request to the warden of his facility to move for compassionate release on his behalf and

  then either exhaust his administrative remedies or wait for the lapse of 30 days after the warden

  received the request. 18 U.S.C. § 3582(c)(1)(A); Franco, 2020 WL 5249369, at *1 (“The

  text . . . outlines two routes a defendant’s motion can follow to be properly before the court. Both

  routes begin with the defendant requesting that ‘the [BOP]’ ‘bring a motion on the defendant’s

  behalf.’”); United States v. Harris, 812 F. App’x 106, 107 (3d Cir. 2020); United States v.

  Springer, 820 F. App’x 788, 791 (10th Cir. 2020) (defendant “was required to request that the

  BOP file a compassionate-release motion on his behalf to initiate his administrative remedies”

  (citing Raia, 954 F.3d at 595)); Alam, 960 F.3d at 833-34; United States v. Soliz, No. 2:16-190-3,


                                                   5
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 6 of 17 PageID #: 574




  2020 WL 2500127, at *3 (S.D. Tex. May 14, 2020) (“§ 3582(c)(1)(A) does not provide this Court

  with the equitable authority to excuse [defendant’s] failure to exhaust his administrative remedies

  or to waive the 30-day waiting period.” (quoting United States v. Reeves, No. 18-00294, 2020 WL

  1816496, at *2 (W.D. La. Apr. 9, 2020))). Here, Scrivner submitted a request to the warden of

  his facility on May 20, 2020, which Warden Greilick denied on June 29, 2020. Although Scrivner

  complied with the exhaustion requirement before filing the instant motion, nothing in his motion

  indicates that extraordinary and compelling reasons exist to release him from confinement.

         Congress did not define “extraordinary and compelling.” Rather, it elected to delegate its

  authority to the United States Sentencing Commission (“the Commission”). See 28 U.S.C.

  § 994(t) (“The Commission, in promulgating general policy statements regarding the sentencing

  modification provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

  considered extraordinary and compelling reasons for sentence reduction, including the criteria to

  be applied and a list of specific examples.”); see also U.S. SENTENCING GUIDELINES MANUAL

  § 1B1.13 (U.S. SENTENCING COMM’N 2018) (“USSG”). In Application Note 1 to § 1B1.13 of

  the USSG, the Commission defined “extraordinary and compelling reasons” to include the

  following four categories of circumstances: (i) certain medical conditions of the defendant; (ii)

  the defendant is 65 years or older and meets other requirements; (iii) the defendant’s family has

  specified needs for a caregiver; and (iv) other reasons in the defendant’s case that establish an

  extraordinary and compelling reason. The court must also consider the factors set forth in 18




                                                  6
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 7 of 17 PageID #: 575




  U.S.C. § 3553(a),1 as applicable, and find that the sentence modification is consistent with the

  policy statements issued by the Commission. 18 U.S.C. § 3582(c)(1)(A). The policy statement

  regarding compassionate release requires a determination that “the defendant is not a danger to

  the safety of any other person or to the community.” U.S.S.G. § 1B1.13(2).

          A.       Medical Condition

          In the instant motion, Scrivner contends that he is eligible for compassionate release due

  to his health, stating specifically that he suffers from the following chronic illnesses:

  “1) Hypertension, 2) Heart Murmur, [and] 3) Obesity weight over 235 pounds.” The USSG

  provides that extraordinary and compelling reasons exist regarding a defendant’s medical condition

  when the defendant is “suffering from a terminal illness (i.e., a serious and advanced illness with

  an end of life trajectory)” or when a defendant is “suffering from a serious physical or medical

  condition,” “suffering from a serious functional or cognitive impairment,” or “experiencing

  deteriorating physical or mental health because of the aging process, that substantially diminishes

  the ability of the defendant to provide self-care within the environment of a correctional facility

  and from which he or she is not expected to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A).

          Here, Scrivner does not offer any medical records or other documentation in support of

  his claimed medical conditions. According to his Presentence Investigation Report (“PSR”),



          1
            Section 3553(a) directs courts to consider: the nature and circumstances of the offense and the
  defendant’s history and characteristics; the need to reflect the seriousness of the offense, to promote respect
  for the law, and to provide just punishment for the offense; the need to deter criminal conduct; the need to
  protect the public; the need to provide the defendant with needed educational or vocational training, medical
  care, or other correctional treatment in the most effective manner; the kinds of sentences and sentencing
  ranges established for defendants with similar characteristics under applicable USSG provisions and policy
  statements; any pertinent policy statement of the Commission in effect on the date of sentencing; the need
  to avoid unwarranted disparities among similar defendants; and the need to provide restitution to the victim.
  18 U.S.C. § 3553(a).

                                                        7
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 8 of 17 PageID #: 576




  prepared in May 2019, Scrivner informed Probation that he had back surgeries in 1977 and 2003

  that caused him pain and limited his ability to stand for long periods of time. He also mentioned

  that he had surgery on his rotator cuff in 2010. Scrivner did not report any additional medical

  conditions or that he was taking any medications at the time of his interview. According to

  Scrivner’s BOP medical records, provided by the Government, he has been diagnosed with

  impingement syndrome of the shoulder and low back pain for which he has been prescribed

  Ibuprofen and Sulindac for the pain. Scrivner has also been diagnosed with essential (primary)

  hypertension for which he has been prescribed Amlodipine to control his blood pressure. His

  medical records reflect that his blood pressure has improved with treatment, with the most recent

  reported reading of 130/81 on March 27, 2020. Although Scrivner claims to suffer from a heart

  murmur, his BOP medical records indicate that he does not have a heart murmur, according to

  examination reports dated August 29, 2019 (“murmurs: NO”); September 6, 2019 (“NO:

  M/R/G” [murmurs, rubs, or gallops]); and March 27, 2020 (“No: M/R/G”).

         When his PSR was prepared in May 2019, Scrivner was 5 feet 10 inches tall and weighed

  275 pounds. According to BOP medical records, Scrivner weighed 265 pounds on September 6,

  2019; however, as of the time of his last reported measurement on March 27, 2020, Scrivner

  weighed only 197 pounds. Although he claims to weigh 235 and have a Body Mass Index

  (“BMI”) of 40, as of March 27, 2020, Scrivner had a BMI of 28.3, indicating he is overweight

  but not obese.

         Probation’s investigation revealed that Scrivner is classified as a Care Level 1 inmate.

  According to BOP’s Clinical Practice Guidance, “Care Level 1 inmates are less than 70 years of

  age and are generally healthy,” but “[t]hey may have limited medical needs that can be easily


                                                 8
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 9 of 17 PageID #: 577




  managed by clinician evaluations every 6-12 months.” Further, BOP medical staff indicated that

  he “did not appear to have any conditions which put him at increased risk of [COVID-19]

  complications.” Even considering his hypertension, Scrivner’s medical summary does not meet

  the criteria listed above. None of these medical conditions is terminal or substantially diminishes

  his ability to provide self-care. In fact, BOP records disclose that Scrivner is housed in general

  population, has no medical restrictions, is assigned regular duty work, is cleared for food service,

  and that his most recent assignments are as camp orderly and in outside recycling. Thus, Scrivner

  has failed to establish that a qualifying medical condition exists that would constitute extraordinary

  and compelling reasons to reduce his sentence.

         In addition, granting Scrivner compassionate release at this juncture would fail to provide

  just punishment for his offense and promote respect for the law.             It is well settled that

  “compassionate release is discretionary, not mandatory,” and may be refused after weighing the

  sentencing factors in 18 U.S.C. § 3553(a). United States v. Chambliss, 948 F.3d 691, 693 (5th

  Cir. 2020). In Chambliss, the United States Court of Appeals for the Fifth Circuit found that the

  district court did not abuse its discretion in denying compassionate release due to the defendant’s

  not yet having served a sufficient portion of his sentence. Id. at 694. The district court

  determined that the defendant’s terminal illness “constitut[ed] ‘an extraordinary and compelling

  reason for a sentence reduction’ and that he ‘[did] not present a danger upon release,’” but denied

  release because “releasing [the defendant] after serving only 14 years of a 30-year sentence

  minimizes both the impact of [the defendant’s] crime and seriousness of the offense.” Id. at 693-

  94. “Moreover, the [district] court, citing the § 3553(a) factors, determined that requiring [the

  defendant] to serve the remainder of his sentence would ‘provide just punishment for the offense’


                                                    9
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 10 of 17 PageID #: 578




  and ‘afford adequate deterrence to criminal conduct.’” Id. In the instant case, releasing Scrivner

  after he has served only 40% of his sentence, as calculated by the Government, would similarly

  minimize the impact of his crime and the seriousness of his offense.

         B.      Age

         Scrivner also asserts that the court should grant compassionate release because of his age.

  The USSG provides that extraordinary and compelling reasons exist as to a defendant’s age when:

         [t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious
         deterioration in physical or mental health because of the aging process; and (iii) has
         served at least 10 years or 75 percent of his or her term of imprisonment,
         whichever is less.

  U.S.S.G. § 1B1.13 cmt. n.1(B). Here, according to Scrivner’s PSR, he is 53 years of age, well

  below the minimal threshold of 65 years. There is no indication that he is experiencing serious

  deterioration in his physical or mental health. Moreover, as of the date of his motion, Scrivner

  had served 14 months of his 41-month sentence, far below than the lesser of 10 years or 75 percent

  of his term of imprisonment.

         Alternatively, 18 U.S.C. § 3582(c)(1)(A)(ii) allows modification of a term of imprisonment

  for age-related reasons when:

         the defendant is at least 70 years of age, has served at least 30 years in prison,
         pursuant to a sentence imposed under section 3559(c), for the offense or offenses
         for which the defendant is currently imprisoned, and a determination has been
         made by the Director of the Bureau of Prisons that the defendant is not a danger to
         the safety of any other person or the community as provided under section 3142(g);
         and that such a reduction is consistent with applicable policy statements issued by
         the Sentencing Commission.

  18 U.S.C. § 3582(c)(1)(A)(ii). As previously stated, Scrivner is only 53 years of age, which is

  less than the stated minimum age of 70. Moreover, Scrivner’s imposed sentence is pursuant to

  a violation of 18 U.S.C. § 1343 which is not deemed an 18 U.S.C. § 3559(c) offense. Hence,

                                                  10
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 11 of 17 PageID #: 579




  Scrivner also does not meet the alternative requirements for age-related compassionate release

  stated in 18 U.S.C. § 3582(c)(1)(A)(ii).

         C.      Family Circumstances

         Although the USSG acknowledges that extraordinary and compelling reasons may exist

  with respect to a defendant’s family circumstances, it specifies the following qualifying conditions:

  (i) “[t]he death or incapacitation of the caregiver of the defendant’s minor child or minor children”

  or (ii) “[t]he incapacitation of the defendant’s spouse or registered partner when the defendant

  would be the only available caregiver for the spouse or registered partner.” U.S.S.G. § 1B1.13

  cmt. n.1(C)(i)-(ii). Here, Scrivner asserts that his “greatest desire is to be home with my Grand

  daughter and my wife who depend on me to take care of their daily needs.” He does not claim

  that his wife is incapacitated or is in need of a caregiver. Furthermore, care for his grandchild

  falls outside the scope of USSG § 1B1.13 cmt. n.1(C), which applies to minor children and

  registered partners. United States v. Johnson, No. 2:13-231, 2020 WL 3000500, at *2 (S.D. Tex.

  June 2, 2020) (holding unless the elderly parent is the caregiver of defendant’s own minor

  children, an elderly parent is not covered under USSG § 1B1.13); United States v. Gonzales, No.

  SA-05-CR-561-XR, 2019 WL 5102742, at *3 (W.D. Tex. Oct. 10, 2019) (movant’s desire to help

  his adult daughter and her mother and to become a caregiver for his elderly mother and mentally

  challenged sister do not present the type of “familial relations . . . covered by the Application

  Notes 1(C) or 1(D) to U.S.S.G. § 1B1.13.”). Therefore, Scrivner fails to meet the requirements

  for family circumstances that establish extraordinary and compelling reasons.




                                                   11
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 12 of 17 PageID #: 580




         D.      “Other” Reasons

         Scrivner’s request for compassionate release potentially falls into the fourth, catch-all

  category of “other” extraordinary and compelling reasons, which specifically states that the

  Director of the BOP shall determine whether “there exists in the defendant’s case an extraordinary

  and compelling reason other than, or in combination with, the reasons described in subdivisions

  (A) through (C).” U.S.S.G. § 1B1.13 cmt. n.1(D). Although Subdivision D is reserved to the

  BOP Director, the Commission acknowledged, even before the passage of the First Step Act, that

  courts are in the position to determine whether extraordinary and compelling circumstances are

  present. United States v. Beck, 425 F. Supp. 3d 573, 583 (M.D.N.C. 2019) (“Read in light of

  the First Step Act, it is consistent with the previous policy statement and with the Commission

  guidance more generally for courts to exercise similar discretion as that previously reserved to the

  BOP Director in evaluating motions by defendants for compassionate release.”); see Cantu, 423

  F. Supp. 3d at 352 (“[T]he correct interpretation of § 3582(c)(1)(A) . . . is that when a defendant

  brings a motion for a sentence reduction under the amended provision, the Court can determine

  whether any extraordinary and compelling reasons other than those delineated in U.S.S.G.

  § 1B1.13 cmt. n.1(A)-(C) warrant granting relief.”).

         In the case at bar, there is no indication that the BOP Director made a determination

  regarding the presence of extraordinary and compelling reasons with respect to Scrivner for any

  “other” reason. In exercising its discretion, the court, likewise, finds that no extraordinary and

  compelling reasons exist in relation to Scrivner’s situation. Scrivner maintains that if he contracts

  COVID-19 it will be fatal for him due to prison overcrowding and there being no way to distance

  himself from other inmates. Scrivner voices concerns regarding the spread of COVID-19 among


                                                   12
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 13 of 17 PageID #: 581




  the prison population.      Nevertheless, as of October 16, 2020, the figures available at

  www.bop.gov list 0 inmates (out of a total inmate population of 896) and 0 staff members at FCI

  Englewood as having confirmed positive cases of COVID-19, 7 inmates and 1 staff member who

  have recovered, and 0 inmates who have succumbed to the disease.

         Although Scrivner expresses legitimate concerns regarding COVID-19, he does not

  establish that the BOP cannot manage the outbreak within his correctional facility or that the

  facility is specifically unable to treat Scrivner, if he were to contract the virus and develop

  COVID-19 symptoms, while incarcerated. See Raia, 954 F.3d at 597 (“[T]he mere existence of

  COVID-19 in society and the possibility that it may spread to a particular prison alone cannot

  independently justify compassionate release, especially considering BOP’s statutory role, and its

  extensive and professional efforts to curtail the virus’s spread.”); United States v. Vasquez, No.

  CR 2:18-1282-S-1, 2020 WL 3000709, at *3 (S.D. Tex. June 2, 2020) (“General concerns about

  the spread of COVID-19 or the mere fear of contracting an illness in prison are insufficient

  grounds to establish the extraordinary and compelling reasons necessary to reduce a sentence.”

  (quoting United States v. Koons, No. 16-214-05, 2020 WL 1940570, at *5 (W.D. La. Apr. 21,

  2020))); United States v. Clark, 451 F. Supp. 3d 651, 656 (M.D. La. 2020) (finding the defendant

  had failed to present extraordinary and compelling reasons to modify his prison sentence because

  he “does not meet any of the criteria set forth by the statute” and he “cites no authority for the

  proposition that the fear of contracting a communicable disease warrants a sentence

  modification”). Furthermore, contracting the virus while incarcerated, even in conjunction with

  preexisting health conditions, is insufficient to establish exceptional and compelling circumstances

  warranting compassionate release. See United States v. Jackson, No. 3:16-CR-196-L-1, 2020 WL


                                                  13
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 14 of 17 PageID #: 582




  4365633, at *2 (N.D. Tex. July 30, 2020) (finding that defendant had failed to present

  extraordinary and compelling reasons for compassionate release despite suffering from previous

  underlying health conditions and testing positive for COVID-19). Here, Scrivner has failed to

  establish that a qualifying medical condition or other reasons exist that would constitute

  extraordinary and compelling reasons to reduce his sentence and release him from imprisonment.

         The court further finds that compassionate release is not warranted in light of the applicable

  factors set forth in § 3553(a). See 18 U.S.C. § 3582(c)(1)(A) (requiring courts to consider the

  § 3553(a) factors before granting compassionate release); Chambliss, 948 F.3d at 693-94.

  Scrivner’s conviction stems from his commission of wire fraud for a period of almost 3 years in

  which he appropriated and embezzled the funds and property of Steel Fabrication Services (“SFS”)

  for his own use, without authority or permission. During this time, Scrivner, the general manager

  of SFS, defrauded both SFS and its president and chief executive officer by redirecting receivables

  and making unauthorized payments to himself and others for his benefit. Scrivner created a

  parallel business entity, SFSI, and represented to other businesses, banks, and individuals that

  SFSI and SFS were one and the same.

         As the general manager of SFS, Scrivner changed network security protocols and physical

  security cameras and also prevented the president of SFS from accessing the books, records, and

  computers of SFS. Scrivner leased and improved property for the benefit of SFSI using funds

  belonging to SFS and sent emails relating to the leasing of the property for the benefit of SFSI.

  Scrivner also terminated an employee of SFS and hired his wife as the bookkeeper, which allowed

  him to conceal his nefarious activities more readily. Through the scheme as described by

  Probation, Scrivner embezzled, stole, deposited, transferred, defrauded, and spent funds belonging


                                                  14
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 15 of 17 PageID #: 583




  to SFS to the detriment and loss of SFS. In total, Scrivner embezzled $341,981.06 from SFS for

  his own benefit. Scrivner abused his position of trust with SFS, which ultimately led to SFS’s

  demise. In essence, Scrivner hijacked the company and its assets from the rightful owner. In

  view of the nature and circumstances surrounding his offense of conviction, the court cannot

  conclude that he would not pose a danger to any other person or to the community, if released

  from imprisonment.

         Moreover, the BOP has instituted a comprehensive management approach that includes

  screening, testing, appropriate treatment, prevention, education, and infection control measures

  in response to COVID-19. In response to a directive from the United States Attorney General in

  March 2020, the BOP immediately began reviewing all inmates who have COVID-19 risk factors,

  as described by the Centers for Disease Control and Prevention, for the purpose of determining

  which inmates are suitable for placement on home confinement. See United States v. Collins, No.

  CR 04-50170-04, 2020 WL 1929844, at *2 (W.D. La. Apr. 20, 2020). The BOP notes that

  inmates need not apply to be considered for home confinement, as this is being done automatically

  by case management staff. To date, the BOP has placed 7,837 inmates on home confinement.

  The March 2020 directive is limited to “eligible at-risk inmates who are non-violent and pose

  minimal likelihood of recidivism and who might be safer serving their sentences in home

  confinement rather than in BOP facilities.” United States v. Castillo, No. CR 2:13-852-1, 2020

  WL 3000799, at *3 (S.D. Tex. June 2, 2020). The BOP has the exclusive authority to determine

  where a prisoner is housed; thus, the court is without authority to order home confinement. 18

  U.S.C. § 3621(b); Ambriz v. United States, No. 4:20-CV-568-P, 2020 WL 3066861, at *2 (N.D.

  Tex. June 5, 2020); United States v. Miller, No. 2:17-CR-015-D (02), 2020 WL 2514887, at *1


                                                 15
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 16 of 17 PageID #: 584




  (N.D. Tex. May 15, 2020) (“[N]either the CARES Act nor the First Step Act authorizes the court

  to release an inmate to home confinement.”).

            In his Memorandum to the BOP dated March 26, 2020, Attorney General Barr

  acknowledges that the Department of Justice (“DOJ”) has an obligation to protect both BOP

  personnel and inmates. He also notes that the DOJ has the responsibility of protecting the public,

  meaning that “we cannot take any risk of transferring inmates to home confinement that will

  contribute to the spread of COVID-19 or put the public at risk in other ways.” The Attorney

  General issued a subsequent Memorandum to the BOP on April 3, 2020, in which he emphasizes

  that police officers protecting the public face an increased risk from COVID-19 and cannot avoid

  exposure to the virus, with their numbers dwindling as officers who contract the virus become ill

  or die or need to recover or quarantine to avoid spreading the disease. Accordingly, he cautions:

            The last thing our massively over-burdened police forces need right now is the
            indiscriminate release of thousands of prisoners onto the streets without any
            verification that those prisoners will follow the laws when they are released, that
            they have a safe place to go where they will not be mingling with their old criminal
            associates, and that they will not return to their old ways as soon as they walk
            through the prison gates.

  As the court noted in United States v. Preston, “[t]he best predictor of how [Defendant] will

  behave if he were to be released is how he behaved in the past, and his track record is a poor

  one.” No. 3:18-CR-307-K, 2020 WL 1819888, at *4 (N.D. Tex. Apr. 11, 2020) (quoting United

  States v. Martin, 447 F. Supp. 3d 399, 403 (D. Md. 2020)). Here, there is no reason for the court

  to believe that Scrivner would not revert to his opportunistic criminal conduct if released from

  prison.

            In short, Scrivner has failed to satisfy his burden of showing the necessary circumstances

  to warrant relief under the statutory framework to which the court must adhere. See United States

                                                    16
Case 4:18-cr-00184-MAC-CAN Document 73 Filed 10/19/20 Page 17 of 17 PageID #: 585




  v. Dodge, No. 17-323-01, 2020 WL 3668765, at *5 (W.D. La. July 6, 2020) (stressing that “the

  rampant spread of the coronavirus and the conditions of confinement in jail, alone, are not

  sufficient grounds to justify a finding of extraordinary and compelling circumstances”); Koons,

  2020 WL 1940570, at *4-5 (same). As the court observed in Koons, rejecting the notion that it

  has “carte blanche” authority to release whomever it chooses, “[t]he Court cannot release every

  prisoner at risk of contracting COVID-19 because the Court would then be obligated to release

  every prisoner.” Dodge, 2020 WL 3668765, at *6; Koons, 2020 WL 1940570, at *5.

  IV.    Conclusion

         Consistent with the foregoing analysis, Scrivner’s Motion for Compassionate Release (#66)

  is DENIED.

         SIGNED at Beaumont, Texas, this 19th day of October, 2020.




                                           ________________________________________
                                                       MARCIA A. CRONE
                                                UNITED STATES DISTRICT JUDGE




                                                17
